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1                               UNITED STATES DISTRICT COURT
2                                      DISTRICT OF NEVADA
3     SHAMAINE STEWART,                                   Case No. 2:20-cv-01855-APG-DJA
4                                            Plaintiff,                     ORDER
5            v.
6     GIMENEZ, et al.,
7                                        Defendants.
8
9    I.     DISCUSSION

10          This action is a pro se civil rights complaint filed pursuant to 42 U.S.C. § 1983 by

11   an individual who has been released from the custody of the Clark County Detention

12   Center. On October 5, 2020, Plaintiff submitted an application to proceed in forma

13   pauperis for prisoners. (ECF No. 1). On October 7, 2020, this Court denied the Plaintiff’s

14   application without prejudice because the application was incomplete and directed

15   Plaintiff to file a new fully complete application on or before December 7, 2020. (ECF No.

16   3). On October 20, 2020, this Court received a notice of returned mail. (ECF No. 4).

17   Thereafter, on October 26, 2020, Plaintiff filed a notice of change of address. (ECF No.

18   5). The Court now directs Plaintiff to file an application to proceed in forma pauperis by

19   a non-prisoner on or before December 11, 2020 or pay the full filing fee of $400. The

20   Court will retain Plaintiff’s civil rights complaint (ECF No. 1-1) but will not file it until the

21   matter of the payment of the filing fee is resolved.

22   II.    CONCLUSION

23          For the foregoing reasons, IT IS ORDERED that the Clerk of the Court will send

24   Plaintiff the approved form application to proceed in forma pauperis by a non-prisoner, as

25   well as the document entitled information and instructions for filing an in forma pauperis

26   application.

27          IT IS FURTHER ORDERED that on or before December 11, 2020, Plaintiff shall

28   either: (1) file a fully complete application to proceed in forma pauperis by a non-prisoner;
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     or (2) pay the full filing fee of $400.
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            IT IS FURTHER ORDERED that if Plaintiff does not timely comply with this order,
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     this case will be subject to dismissal without prejudice for Plaintiff to file a new case with
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     the Court when Plaintiff is either able to file a fully complete application to proceed in
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     forma pauperis by a non-prisoner or pays the full $400 filing fee.
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            IT IS FURTHER ORDERED that the Clerk of the Court shall retain the complaint
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     (ECF No. 1-1) but shall not file it at this time.
8
            DATED: October 27, 2020
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                                                 UNITED STATES MAGISTRATE JUDGE
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